        Case 8:15-bk-16028-CB                      Doc 1 Filed 12/23/15 Entered 12/23/15 15:28:04                                          Desc
                                                   Main Document     Page 1 of 97
 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known):                                      Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                           Check if this is an
                                                                        Chapter 13
                                                                                                                           amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                          12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                        About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       William
     government-issued picture
                                       First Name                                             First Name
     identification (for example,
     your driver's license or          Henry
     passport).                        Middle Name                                            Middle Name

                                       Watson
     Bring your picture                Last Name                                              Last Name
     identification to your meeting    III
     with the trustee.                 Suffix (Sr., Jr., II, III)                             Suffix (Sr., Jr., II, III)


2.   All other names you
     have used in the last 8           First Name                                             First Name
     years
                                       Middle Name                                            Middle Name
     Include your married or
     maiden names.
                                       Last Name                                              Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   2        7       2    6   xxx – xx –
     number or federal                 OR                                                     OR
     Individual Taxpayer
     Identification number             9xx – xx –                                             9xx – xx –
     (ITIN)

4.   Any business names                       I have not used any business names or EINs.            I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in            Business name                                          Business name
     the last 8 years
                                       Business name                                          Business name
     Include trade names and
     doing business as names
                                       Business name                                          Business name



Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                             page 1
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           William       Henry
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Debtor 1
             First Name          Middle Name    Main Last
                                                      Document
                                                          Name         Page 2 Case
                                                                              of 97number (if known)


                                     About Debtor 1:                                          About Debtor 2 (Spouse Only in a Joint Case):

                                                  –                                                       –
                                     EIN                                                      EIN
                                                  –                                                       –
                                     EIN                                                      EIN

5.   Where you live                                                                           If Debtor 2 lives at a different address:

                                     3010 W Oceanfront
                                     Number       Street                                      Number      Street




                                     Newport Beach               CA        92663
                                     City                        State     ZIP Code           City                       State     ZIP Code

                                     Orange
                                     County                                                   County

                                     If your mailing address is different from                If Debtor 2's mailing address is different
                                     the one above, fill it in here. Note that the            from yours, fill it in here. Note that the court
                                     court will send any notices to you at this               will send any notices to you at this mailing
                                     mailing address.                                         address.



                                     Number       Street                                      Number      Street


                                     P.O. Box                                                 P.O. Box


                                     City                        State     ZIP Code           City                       State     ZIP Code


6.   Why you are choosing            Check one:                                               Check one:
     this district to file for
     bankruptcy                              Over the last 180 days before filing this               Over the last 180 days before filing this
                                             petition, I have lived in this district longer          petition, I have lived in this district longer
                                             than in any other district.                             than in any other district.

                                             I have another reason. Explain.                         I have another reason. Explain.
                                             (See 28 U.S.C. § 1408.)                                 (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the             Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you            for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                                  Chapter 7

                                            Chapter 11

                                            Chapter 12

                                            Chapter 13




Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
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Debtor 1
             First Name         Middle Name    Main Last
                                                     Document
                                                         Name         Page 3 Case
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8.   How you will pay the fee           I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                        court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                        pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                        behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                        I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                        Individuals to Pay Your Filing Fee in Installments (Official Form 103A).

                                        I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                        By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                        than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                        fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                        Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for                 No
     bankruptcy within the
     last 8 years?                      Yes.

                                   District                                               When                    Case number
                                                                                                 MM / DD / YYYY
                                   District                                               When                    Case number
                                                                                                 MM / DD / YYYY

                                   District                                               When                    Case number
                                                                                                 MM / DD / YYYY

10. Are any bankruptcy                  No
    cases pending or being
    filed by a spouse who is            Yes.
    not filing this case with
                                   Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an              District                                               When                    Case number,
    affiliate?                                                                                   MM / DD / YYYY   if known


                                   Debtor                                                             Relationship to you

                                   District                                               When                    Case number,
                                                                                                 MM / DD / YYYY   if known

11. Do you rent your                    No.     Go to line 12.
    residence?                          Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                             residence?

                                                     No. Go to line 12.
                                                     Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                     and file it with this bankruptcy petition.




Official Form 101                        Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
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          William       Henry
                                                   Doc 1 Watson,
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Debtor 1
             First Name              Middle Name   Main Last
                                                         Document
                                                             Name         Page 4 Case
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 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor                No. Go to Part 4.
    of any full- or part-time                Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                    Name of business, if any
    business you operate as an
    individual, and is not a                        3010 W Oceanfront
    separate legal entity such as                   Number     Street
    a corporation, partnership, or
    LLC.
                                                    Newport Beach                                           CA             92663
    If you have more than one                       City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                    Check the appropriate box to describe your business:
    to this petition.
                                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                           None of the above

13. Are you filing under                If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                   can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and                 most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business            or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                             No.    I am not filing under Chapter 11.

                                             No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                    the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                    Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                  Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                   No
    property that poses or is                Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                         If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or                  Where is the property?
    a building that needs urgent                                               Number   Street
    repairs?



                                                                               City                                    State          ZIP Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                           page 4
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          William       Henry
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Debtor 1
             First Name          Middle Name   Main Last
                                                     Document
                                                         Name         Page 5 Case
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 Part 5:      Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court            About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you have
                              You must check one:                                          You must check one:
    received briefing
    about credit                 I received a briefing from an approved credit                I received a briefing from an approved credit
    counseling.                  counseling agency within the 180 days before                 counseling agency within the 180 days before
                                 I filed this bankruptcy petition, and I received             I filed this bankruptcy petition, and I received
    The law requires that
                                 a certificate of completion.                                 a certificate of completion.
    you receive a briefing
    about credit counseling      Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    before you file for          plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    bankruptcy. You must
                                 I received a briefing from an approved credit                I received a briefing from an approved credit
    truthfully check one of
                                 counseling agency within the 180 days before                 counseling agency within the 180 days before
    the following choices.
                                 I filed this bankruptcy petition, but I do not               I filed this bankruptcy petition, but I do not
    If you cannot do so,
                                 have a certificate of completion.                            have a certificate of completion.
    you are not eligible to
    file.                        Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy
                                 you MUST file a copy of the certificate and payment          petition, you MUST file a copy of the certificate
    If you file anyway, the      plan, if any.                                                and payment plan, if any.
    court can dismiss your
                                 I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    case, you will lose
                                 services from an approved agency, but was                    services from an approved agency, but was
    whatever filing fee you
                                 unable to obtain those services during the 7                 unable to obtain those services during the 7
    paid, and your
                                 days after I made my request, and exigent                    days after I made my request, and exigent
    creditors can begin
                                 circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    collection activities
                                 waiver of the requirement.                                   waiver of the requirement.
    again.
                                 To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
                                 requirement, attach a separate sheet explaining              requirement, attach a separate sheet explaining
                                 what efforts you made to obtain the briefing, why            what efforts you made to obtain the briefing, why
                                 you were unable to obtain it before you filed for            you were unable to obtain it before you filed for
                                 bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
                                 required you to file this case.                              required you to file this case.

                                 Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                 dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                                 briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                                 If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                                 still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                                 You must file a certificate from the approved                You must file a certificate from the approved
                                 agency, along with a copy of the payment plan you            agency, along with a copy of the payment plan you
                                 developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                                 may be dismissed.                                            may be dismissed.

                                 Any extension of the 30-day deadline is granted              Any extension of the 30-day deadline is granted
                                 only for cause and is limited to a maximum of 15             only for cause and is limited to a maximum of 15
                                 days.                                                        days.

                                 I am not required to receive a briefing about                I am not required to receive a briefing about
                                 credit counseling because of:                                credit counseling because of:

                                     Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                    deficiency that makes me                                     deficiency that makes me
                                                    incapable of realizing or making                             incapable of realizing or making
                                                    rational decisions about finances.                           rational decisions about finances.

                                     Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                    to be unable to participate in a                             to be unable to participate in a
                                                    briefing in person, by phone, or                             briefing in person, by phone, or
                                                    through the internet, even after I                           through the internet, even after I
                                                    reasonably tried to do so.                                   reasonably tried to do so.
                                     Active duty. I am currently on active military               Active duty. I am currently on active military
                                                  duty in a military combat zone.                              duty in a military combat zone.
                                 If you believe you are not required to receive a             If you believe you are not required to receive a
                                 briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                                 motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                             page 5
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Debtor 1
             First Name            Middle Name     Main Last
                                                         Document
                                                             Name         Page 6 Case
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 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you         16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                     as "incurred by an individual primarily for a personal, family, or household purpose."
                                                    No. Go to line 16b.
                                                    Yes. Go to line 17.

                                      16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                              money for a business or investment or through the operation of the business or investment.
                                                   No. Go to line 16c.
                                                   Yes. Go to line 17.

                                      16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                               No.    I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after               Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                              No
    are paid that funds will be
                                                         Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                    1-49                              1,000-5,000                          25,001-50,000
    you estimate that you                    50-99                             5,001-10,000                         50,001-100,000
    owe?                                     100-199                           10,001-25,000                        More than 100,000
                                             200-999

19. How much do you                          $0-$50,000                        $1,000,001-$10 million               $500,000,001-$1 billion
    estimate your assets to                  $50,001-$100,000                  $10,000,001-$50 million              $1,000,000,001-$10 billion
    be worth?                                $100,001-$500,000                 $50,000,001-$100 million             $10,000,000,001-$50 billion
                                             $500,001-$1 million               $100,000,001-$500 million            More than $50 billion

20. How much do you                          $0-$50,000                        $1,000,001-$10 million               $500,000,001-$1 billion
    estimate your liabilities to             $50,001-$100,000                  $10,000,001-$50 million              $1,000,000,001-$10 billion
    be?                                      $100,001-$500,000                 $50,000,001-$100 million             $10,000,000,001-$50 billion
                                             $500,001-$1 million               $100,000,001-$500 million            More than $50 billion

 Part 7:      Sign Below
For you                               I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                      and correct.

                                      If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                      or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                      proceed under Chapter 7.

                                      If no attorney represents me and I did not pay or agree to pay someone who is an attorney to help me fill
                                      out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                      I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                      I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                      connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                      or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                      X /s/ William Henry Watson, III                             X
                                         Signature of Debtor 1                                        Signature of Debtor 2

                                         Executed on 12/23/2015                                       Executed on
                                                     MM / DD / YYYY                                                 MM / DD / YYYY




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                            page 6
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Debtor 1
             First Name         Middle Name   Main Last
                                                    Document
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For your attorney, if you are      I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one                 eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                   relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by      the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need       certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.                 is incorrect.



                                   X /s/ William P. White                                                Date 12/23/2015
                                      Signature of Attorney for Debtor                                        MM / DD / YYYY


                                      William P. White
                                      Printed name
                                      Carswell Law
                                      Firm Name
                                      4695 MacArthur Court
                                      Number          Street
                                      Suite 1430




                                      Newport Beach                                              CA              92660
                                      City                                                       State           ZIP Code


                                      Contact phone (949) 863-9511                     Email address BillWhite@CarswellLaw.com


                                      235606
                                      Bar number                                                 State




Official Form 101                        Voluntary Petition for Individuals Filing for Bankruptcy                                            page 7
         Case 8:15-bk-16028-CB                                  Doc 1 Filed 12/23/15 Entered 12/23/15 15:28:04                                                                 Desc
                                                                Main Document     Page 8 of 97
 Fill in this information to identify your case:
 Debtor 1                William                       Henry                         Watson, III
                         First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

 Case number
                                                                                                                                                          Check if this is an
 (if known)
                                                                                                                                                          amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)

     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................            $0.00


                                                                                                                                                                           $9,400.00
     1b. Copy line 62, Total personal property, from Schedule A/B.................................................................................................................................................


                                                                                                                                                                                 $9,400.00
     1c. Copy line 63, Total of all property on Schedule A/B............................................................................................................................................................



 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................                                            $0.00

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                      $155,410.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $657,252.26
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                         $812,662.26




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $5,890.00
     Copy your combined monthly income from line 12 of Schedule I...............................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $5,855.00




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
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                                                        DocumentIII  Page 9 Case
                                                                            of 97number (if known)
               First Name            Middle Name           Last Name


 Part 4:         Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
            Yes

7.   What kind of debt do you have?

            Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
            family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
            this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

     9d. Student loans. (Copy line 6f.)

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)

     9f.    Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +

     9g. Total.     Add lines 9a through 9f.




Official Form 106Sum                Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
         Case 8:15-bk-16028-CB                        Doc 1 Filed 12/23/15 Entered 12/23/15 15:28:04                                              Desc
                                                      Main Document    Page 10 of 97
 Fill in this information to identify your case and this filing:
 Debtor 1             William                  Henry                    Watson, III
                      First Name               Middle Name              Last Name

 Debtor 2
 (Spouse, if filing) First Name                Middle Name              Last Name


 United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

 Case number
                                                                                                                                  Check if this is an
 (if known)
                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                      12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.   Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
          No. Go to Part 2.
          Yes. Where is the property?

2.   Add the dollar value of the portion you own for all of your entries from Part 1, including any
     entries for pages you have attached for Part 1. Write that number here.............................................................                   $0.00


 Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

         No
         Yes

3.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     BMW                          Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    M3
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     2004
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 120,000                                At least one of the debtors and another             $3,500.00                               $3,500.00
Other information:
2004 BMW M3                                                 Check if this is community property
120,000 miles and damaged                                   (see instructions)
Poor condition

4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
         No
         Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................                $3,500.00




Official Form 106A/B                                                 Schedule A/B: Property                                                                 page 1
          Case 8:15-bk-16028-CB                                Doc 1 Filed 12/23/15 Entered 12/23/15 15:28:04                                                           Desc
Debtor 1         William                        Henry          Main Document
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                                                                                            number (if known)
                 First Name                     Middle Name                Last Name

  Part 3:          Describe Your Personal and Household Items
                                                                                                                                                                 Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

6.    Household goods and furnishings
      Examples: Major appliances, furniture, linens, china, kitchenware
            No
            Yes. Describe............
                                Household furniture, beds,                                                                                                                 $1,000.00


7.    Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                 music collections; electronic devices including cell phones, cameras, media players, games
            No
            Yes. Describe............

8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
            No
            Yes. Describe............

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments
            No
            Yes. Describe............

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                Men's Clothing 2 suits, shirts, pants                                                                                                      $1,000.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................      $2,000.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 2
        Case 8:15-bk-16028-CB                                          Doc 1 Filed 12/23/15 Entered 12/23/15 15:28:04                                                                                  Desc
Debtor 1         William                           Henry               Main Document
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                                                                                                    number (if known)
                 First Name                        Middle Name                       Last Name

 Part 4:            Describe Your Financial Assets
                                                                                                                                                                                            Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                            portion you own?
                                                                                                                                                                                            Do not deduct secured
                                                                                                                                                                                            claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
           No
           Yes.....................................................................................................................................................................................................
                                                                                                                                                    Cash: ...........................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

           No
           Yes..............................                    Institution name:

            17.1.        Checking account:                      WELLS Fargo Bank account                                                                                                                      $2,000.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:

            Contractual Rights to Stock and warrants in Scayl Inc. through Finance 500, Inc. Shares and warrants have
                                                                                                                  Unknown
                                                                                                                      not been issued,




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                                                               % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific                 Issuer name:
           information about
           them...............................................




21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.                Type of account:                     Institution name:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                                 Institution name or individual:
                            Security deposit on rental unit: Deposit on Rental house with the property manager                                                                                                $1,400.00


Official Form 106A/B                                                                        Schedule A/B: Property                                                                                                    page 3
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                                                                                           number (if known)
                First Name                   Middle Name            Last Name

23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)




25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                          Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                                    Federal:                  $0.00
           about them, including whether
           you already filed the returns                                                                                     State:                    $0.00
           and the tax years.....................................
                                                                                                                             Local:                    $0.00

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                       Alimony:                               $0.00

                                                                                                                Maintenance:                           $0.00

                                                                                                                Support:                               $0.00
                                                                                                                Divorce settlement:                    $0.00

                                                                                                                Property settlement:                   $0.00




Official Form 106A/B                                                    Schedule A/B: Property                                                          page 4
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                                                                                            number (if known)
                 First Name                   Middle Name                  Last Name

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
            No
            Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
            Yes. Name the insurance               Company name:                                                 Beneficiary:                                Surrender or refund value:
            company of each policy
            and list its value................




32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
            No
            Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............

35. Any financial assets you did not already list

            No
            Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................     $3,400.00


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................
                              laptop, printer/scanner                                                                                                                        $500.00
                                   In my home




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 5
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                                                                                            number (if known)
                  First Name                  Middle Name                  Last Name

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................

41. Inventory

            No
            Yes. Describe................

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:




43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific
            information..................




45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................       $500.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6
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48. Crops--either growing or harvested

             No
             Yes. Give specific
             information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

             No
             Yes..............................

50. Farm and fishing supplies, chemicals, and feed

             No
             Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

             No
             Yes. Give specific
             information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................                           $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

             No
             Yes. Give specific
             information.......................




54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                                             $0.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................              $0.00

56. Part 2: Total vehicles, line 5                                                                                    $3,500.00

57. Part 3: Total personal and household items, line 15                                                               $2,000.00

58. Part 4: Total financial assets, line 36                                                                           $3,400.00

59. Part 5: Total business-related property, line 45                                                                     $500.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                     Add lines 56 through 61.................................             $9,400.00             property total                 +              $9,400.00


63. Total of all property on Schedule A/B.                          Add line 55 + line 62....................................................................................................... $9,400.00




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                      page 7
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                                                                    number (if known)
            First Name   Middle Name        Last Name




Official Form 106A/B                            Schedule A/B: Property                         page 8
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 Fill in this information to identify your case:
 Debtor 1            William               Henry                  Watson, III
                     First Name            Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name            Middle Name            Last Name

 United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                      Check if this is an
 Case number                                                                                                          amended filing
 (if known)



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:       Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?              Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on            Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                    the portion you      exemption you claim
                                                         own
                                                         Copy the value from Check only one box for
                                                         Schedule A/B        each exemption


Brief description                                            $3,500.00                  $3,500.00          C.C.P. § 703.140(b)(2)
2004 BMW M3                                                                        100% of fair market
120,000 miles and damaged                                                          value, up to any
Poor condition                                                                     applicable statutory
Line from Schedule A/B: 3.1                                                        limit

Brief description                                            $1,000.00                  $1,000.00          C.C.P. § 703.140(b)(3)
Household furniture, beds,                                                         100% of fair market
                                                                                   value, up to any
Line from Schedule A/B:           6
                                                                                   applicable statutory
                                                                                   limit



3. Are you claiming a homestead exemption of more than $155,675?
Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                 page 1
      (Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                page 1
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                                                                             number (if known)
             First Name          Middle Name           Last Name


 Part 2:       Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description                                       $1,000.00                $1,000.00          C.C.P. § 703.140(b)(3)
Men's Clothing 2 suits, shirts, pants                                        100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description                                       $2,000.00                $2,000.00          C.C.P. § 703.140(b)(5)
WELLS Fargo Bank account                                                     100% of fair market
                                                                             value, up to any
Line from Schedule A/B:   17.1
                                                                             applicable statutory
                                                                             limit

Brief description                                       $1,400.00                $1,400.00          C.C.P. § 703.140(b)(5)
Deposit on Rental house                                                      100% of fair market
with the property manager                                                    value, up to any
Line from Schedule A/B: 22                                                   applicable statutory
                                                                             limit

Brief description                                        $500.00                  $500.00           C.C.P. § 703.140(b)(6)
laptop, printer/scanner                                                      100% of fair market
In my home                                                                   value, up to any
Line from Schedule A/B:    39                                                applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
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 Fill in this information to identify your case:
 Debtor 1            William              Henry                  Watson, III
                     First Name           Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

 Case number
                                                                                                                 Check if this is an
 (if known)
                                                                                                                 amended filing



Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.   Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.


 Part 1:       List All Secured Claims

2.   List all secured claims. If a creditor has more than one secured
     claim, list the creditor separately for each claim. If more than one           Column A              Column B               Column C
     creditor has a particular claim, list the other creditors in Part 2. As        Amount of claim       Value of collateral    Unsecured
     much as possible, list the claims in alphabetical order according to the       Do not deduct the     that supports this     portion
     creditor's name.                                                               value of collateral   claim                  If any




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                $0.00

Official Form 106D                       Schedule D: Creditors Who Have Claims Secured by Property                                        page 1
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  Fill in this information to identify your case:
  Debtor 1             William               Henry                  Watson, III
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing



Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                               $10,000.00                  $0.00       $10,000.00
Franchise Tax Board
Priority Creditor's Name                                   Last 4 digits of account number        2     9    7      5
PO Box 942867                                              When was the debt incurred?          2005
Number       Street
                                                           As of the date you file, the claim is: Check all that apply.
Sacramento                      CA      94267-0011             Contingent
City                            State   ZIP Code               Unliquidated
Who incurred the debt?        Check one.                       Disputed
     Debtor 1 only
                                                           Type of PRIORITY unsecured claim:
     Debtor 2 only
     Debtor 1 and Debtor 2 only                               Domestic support obligations
     At least one of the debtors and another                  Taxes and certain other debts you owe the government
                                                              Claims for death or personal injury while you were
     Check if this claim is for a community debt
                                                              intoxicated
Is the claim subject to offset?                               Other. Specify
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
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                                                                               number (if known)
               First Name           Middle Name           Last Name


  Part 1:        Your PRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the                         Total claim       Priority          Nonpriority
previous page.                                                                                                      amount            amount

   2.2                                                                                            $145,410.00          $145,410.00           $0.00
IRS
Priority Creditor's Name                                Last 4 digits of account number       2     7    2      6
24000 Avila Road                                        When was the debt incurred?        2009, 2010, 2013
Number       Street
                                                        As of the date you file, the claim is: Check all that apply.
Laguna Nigel                CA       92677-3405             Contingent
City                        State    ZIP Code               Unliquidated
Who incurred the debt?        Check one.                    Disputed
     Debtor 1 only
                                                        Type of PRIORITY unsecured claim:
     Debtor 2 only
     Debtor 1 and Debtor 2 only                            Domestic support obligations
     At least one of the debtors and another               Taxes and certain other debts you owe the government
                                                           Claims for death or personal injury while you were
     Check if this claim is for a community debt
                                                           intoxicated
Is the claim subject to offset?                            Other. Specify
     No
     Yes




Official Form 106E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                            page 2
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                                                                                   number (if known)
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  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with you other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          Unknown
Andrea Downs                                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
495 Legion St.
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
Laguna Beach                    CA       92651                  Disputed
City                            State    ZIP Code
Who incurred the debt?      Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                          Unknown
Andrew C. Hossman                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
3755 WS Grayson St.
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
Seattle                         WA       98126                  Disputed
City                            State    ZIP Code
Who incurred the debt?      Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




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                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

   4.3                                                                                                                             $15,000.00
Bank of America                                           Last 4 digits of account number      4 5        0    9
Nonpriority Creditor's Name
                                                          When was the debt incurred?        2008
Irvine, CA
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Credit cards
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                               Unknown
Barbara A. & Mark Lyster                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
37 Ocean Heights Drive
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Newport Coast                 CA       92657                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                               Unknown
Blake T. Headley                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
4636 Northampton Drive
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Jackson                       MS       39211                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




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                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

   4.6                                                                                                                               Unknown
Brenda M. Hackney                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
40 Country Club Road
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Mountain Brook                AL       35213                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                             $90,000.00
Campus Partners, LLC. C/O Colton Compani Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?        2008
2361 Campus Drive, Suite 203
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Irvine                        CA       92612                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Other
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                               $1,526.00
Capital One Mastercard                                    Last 4 digits of account number      9 6 9           2
Nonpriority Creditor's Name
                                                          When was the debt incurred?        pre-2015
PO Box 60599
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
City of Industry              CA       91716                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Credit cards
Is the claim subject to offset?
     No
     Yes




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               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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previous page.

   4.9                                                                                                                               $2,090.79
Capital One Mastercard                                    Last 4 digits of account number      3 8 7           8
Nonpriority Creditor's Name
                                                          When was the debt incurred?        pre-2015
PO Box 60599
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
City of Industry              CA       91716                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Credit cards
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                               $3,600.00
Capital One Visa                                          Last 4 digits of account number      4 6 6 4
Nonpriority Creditor's Name
                                                          When was the debt incurred?        2014 and before
PO Box 60599
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
City of Industry              CA       91716-0599             Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Credit cards
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                               $2,802.00
Capital One Visa                                          Last 4 digits of account number      0 3 4 4
Nonpriority Creditor's Name
                                                          When was the debt incurred?        2014 and before
PO BOX 70886
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Charlotte                     NC       28272                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Credit cards
Is the claim subject to offset?
     No
     Yes




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                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                  Total claim
previous page.

  4.12                                                                                                                               Unknown
Carl L. Hossman Jr. and Virginia K. Hoss                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
196 Boundary Ln. NW
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Shoreline                     WA       98177                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                               Unknown
Castleberry Properties, LLC                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
2206 Rosewood
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Westport                      MS       39773                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                             $50,000.00
Charles Finkelstein                                       Last 4 digits of account number      t   i  o        n
Nonpriority Creditor's Name
                                                          When was the debt incurred?        Jan 2014
C/O David Newman, Esq.
Number        Street                                      As of the date you file, the claim is: Check all that apply.
10900 NE 8th St., Suite 1000                                  Contingent
                                                              Unliquidated
Bellevue                      WA       98004                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Law suit
Is the claim subject to offset?
     No
     Yes




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                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                  Total claim
previous page.

  4.15                                                                                                                               Unknown
Chris Wrolstad                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
1935 Alkire St.
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Golden                        CO       80404                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                               Unknown
Christopher King                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
2922 Rosemary Park
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Houston                       TX       77082                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                               Unknown
Cliff Coffman and Dianne Andrews Coffman                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
565 Oneonta St.
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Shreveport                    LA       71106-1619             Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




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                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                  Total claim
previous page.

  4.18                                                                                                                               $1,726.00
Credit One Bank                                           Last 4 digits of account number      9 4        4    8
Nonpriority Creditor's Name
                                                          When was the debt incurred?        2014
PO Box 60500
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
City of Industry              CA       91716-0500             Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Credit cards
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                               Unknown
Darlene K. Hall                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
3121 Fren Ave. #117
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Shreveport                    LA       71105                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                               Unknown
Darryl Kopacz                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
3112 Indian Mesa Dr.
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Thousand Oaks                 CA       91360                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




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                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                  Total claim
previous page.

  4.21                                                                                                                               Unknown
Daryl P. Guest Roth IRA                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
c/o Starkville Surgical Associates
Number        Street                                      As of the date you file, the claim is: Check all that apply.
105 Doctors Park                                              Contingent
                                                              Unliquidated
Starkville                    MS       39759                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                               Unknown
David Dausman                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
100 Woodmont Hill
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Ridgeland                     MS       39157                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.23                                                                                                                               Unknown
David L. Bole                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
1265 Ridgewood Lane
Number        Street                                      As of the date you file, the claim is: Check all that apply.
Houston, TX 77055                                             Contingent
                                                              Unliquidated
                                                              Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




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                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                  Total claim
previous page.

  4.24                                                                                                                               Unknown
David Stehlik                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
3918 171st Pl. NE
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Bellevue                      WA       98008                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.25                                                                                                                               Unknown
David Stephens                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
6512 Old Gate Road
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Plano                         TX       75093                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.26                                                                                                                               Unknown
Diana Johnson                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
3115 Ski Shores Terrace
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Austin                        TX       78730                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




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                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                  Total claim
previous page.

  4.27                                                                                                                               Unknown
Donald E. Betz                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
12 Glen Cove
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Laguna Niguel                 CA       92677                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.28                                                                                                                               Unknown
Finance 500, Inc.                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
19762 MacArthur Blvd., Suite 200
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Irvine                        CA       92612                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.29                                                                                                                               Unknown
FINN Partners, Inc.                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
Juhani Taskinen
Number        Street                                      As of the date you file, the claim is: Check all that apply.
36 Lindhurst                                                  Contingent
                                                              Unliquidated
Newport Beach                 CA       92660                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                     page 12
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Debtor 1       William                Henry
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                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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previous page.

  4.30                                                                                                                                  $312.00
Focus Receivables Mana                                    Last 4 digits of account number      8 6        0    8
Nonpriority Creditor's Name
                                                          When was the debt incurred?        09/2014
1130 Northchase Pkwy Se
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Marietta                      GA       30067                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Collection Attorney
Is the claim subject to offset?
     No
     Yes

  4.31                                                                                                                               Unknown
Francis S Hackney and Lucy D Hackney                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
4200 Pine Street, Unit #105
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Philadelphia                  PA       19104                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.32                                                                                                                               Unknown
Freedom Investors Corp.                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
333 Bishops Way, #122
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Brookfield                    WI       53005                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




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                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                  Total claim
previous page.

  4.33                                                                                                                               Unknown
Gail E. Levine                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
12790 SW Rembrandt Lane
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Tigard                        OR       97224                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.34                                                                                                                               Unknown
George Octavio Flint                                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
140 Encinitas Blvd. Ste. 319
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Encinitas                     CA       92024                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.35                                                                                                                               Unknown
Gregory J. Erigero                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
29 Nunes Drive
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Novato                        CA       94945                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




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                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                  Total claim
previous page.

  4.36                                                                                                                               Unknown
Guy J. Ossello IRA                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
75 Burning Tree Lane
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Butte                         MT       59701                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.37                                                                                                                               Unknown
H. Leigh Severance                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
14282 E. Caley Ave.
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Aurora                        CO       80016                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.38                                                                                                                               Unknown
Hackney One Investments, LLC                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
40 Country Club Road
Number        Street                                      As of the date you file, the claim is: Check all that apply.
Mountain Brook, AL                                            Contingent
                                                              Unliquidated
                                                              Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




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                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                  Total claim
previous page.

  4.39                                                                                                                               Unknown
Henry Maurice Johnson, Jr.                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
3115 Ski Shores Terrace
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Austin                        TX       78730                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.40                                                                                                                            $474,497.00
IRS                                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?        2004, 2005, 2007
Centalized Insolvency Operation
Number        Street                                      As of the date you file, the claim is: Check all that apply.
PO Box 7346                                                   Contingent
                                                              Unliquidated
Philadelphia                  PA       19101-7346             Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Taxes
Is the claim subject to offset?
     No
     Yes

  4.41                                                                                                                               Unknown
James W. Morris                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
5912 Fairlane Drive
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Austin                        TX       78757                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




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                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                  Total claim
previous page.

  4.42                                                                                                                               Unknown
Jerold Riegler                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
15801 W. Riviera
Number        Street                                      As of the date you file, the claim is: Check all that apply.
New Berlin, WI                                                Contingent
                                                              Unliquidated
                                                              Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.43                                                                                                                               Unknown
John P. Forney, III & Sally A. Forney,                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
Trustees
Number        Street                                      As of the date you file, the claim is: Check all that apply.
13 Hill Haven                                                 Contingent
                                                              Unliquidated
New Braunfels                 TX       78132                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.44                                                                                                                               Unknown
Jon C Nelson, Jr. & Teresa L Nelson                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
16029 Snowdonia Cove
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Austin                        TX       78738                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




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                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                  Total claim
previous page.

  4.45                                                                                                                               Unknown
Jonathan A. Bower and Susan Kano                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
18 Holiday Road
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Wayland                       MA       01778                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.46                                                                                                                               Unknown
Joshua Klakring                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
196 Boundary Ln NW
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Shoreline                     WA       98177                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.47                                                                                                                               Unknown
Jumpsport, Inc. Defined Benefit Plan                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
18505 Marshall Lane
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Saratoga                      CA       95070                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




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                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                  Total claim
previous page.

  4.48                                                                                                                               Unknown
Jym Travis Daniel                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
9413 Altona Way
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Austin                        TX       78717                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.49                                                                                                                               Unknown
Kevin S. Mellor Apex C/F Rollover IRA                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
4102 Bellefontaine St.
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Houston                       TX       77025                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.50                                                                                                                               Unknown
Landon Miller                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
273 Beverly St.
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Laguna Beach                  CA       92651                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                     page 19
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Debtor 1       William                Henry
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                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

  4.51                                                                                                                               Unknown
Lucien J. Tujague, Jr.                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
4824 Crooked Ln.
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Dallas                        TX       75229                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.52                                                                                                                               Unknown
Mark and Valerie Publicover                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
18505 Marshall Lane
Number        Street                                      As of the date you file, the claim is: Check all that apply.
Saratoga, CA                                                  Contingent
                                                              Unliquidated
                                                              Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.53                                                                                                                               Unknown
Mark Massad                                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
5538 Preston Haven Dr.
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Dallas                        TX       75230                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                     page 20
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                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

  4.54                                                                                                                               Unknown
Mark Publicover                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
18505 Marshall Lane
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Saratoga                      CA       95070                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.55                                                                                                                               Unknown
Marlene Marcus                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
1453 Allenford Ave.
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Los Angeles                   CA       90049                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.56                                                                                                                               Unknown
Maroof Haque                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
4226 Interlake Ave. N
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Seatlle                       WA       98103                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




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Debtor 1       William                Henry
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                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

  4.57                                                                                                                               Unknown
Massad & Massad Investments, LTD.,                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
Gene Massad, GP
Number        Street                                      As of the date you file, the claim is: Check all that apply.
5330 Lobello Drive                                            Contingent
                                                              Unliquidated
Dallas                        TX       75229                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.58                                                                                                                               $2,040.00
Merchants Ad                                              Last 4 digits of account number       3    7    7    9
Nonpriority Creditor's Name
                                                          When was the debt incurred?
P O Box 7511
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Mobile                        AL       36670                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Unknown Loan Type
Is the claim subject to offset?
     No
     Yes

  4.59                                                                                                                             $12,671.00
Midland Credit Management                                 Last 4 digits of account number      6 5        7    1
Nonpriority Creditor's Name
                                                          When was the debt incurred?        2008
2365 Northside Drive, Suite 300
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
San Diego                     CA       92108                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Credit cards
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                     page 22
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Debtor 1       William                Henry
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                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

  4.60                                                                                                                               Unknown
Millenium Trust Company, LLC                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
Custodian FBO: Sanjiv Rawat IRA
Number        Street                                      As of the date you file, the claim is: Check all that apply.
13057 Greg Roy Lane                                           Contingent
                                                              Unliquidated
Hernadon                      VA       20171                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.61                                                                                                                               Unknown
Monica A. Brill                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
3833 E. 38th Street
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Des Moines                    IA       50317                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.62                                                                                                                                  $487.47
Nicholas Shubin, DDS                                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?        2008
27184 Ortega Hwy., suite 208
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
San Juan Capistrano           CA       92675-5700             Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Medical bills
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                     page 23
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Debtor 1       William                Henry
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                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

  4.63                                                                                                                               Unknown
Patrick E. Molony                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
1104 Lakeridge Drive
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Birmingham                    AL       35244                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.64                                                                                                                               Unknown
Paul and Betty Jacobs                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
4601 Merion Cricket
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Austin                        TX       78747                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.65                                                                                                                               Unknown
PFSI IRA Rollover FBO Donald E. Betz                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
12 Glen Cove
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Laguna Niguel                 CA       92677                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                     page 24
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Debtor 1       William                Henry
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                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

  4.66                                                                                                                               Unknown
Raymond C. and Glenda P. Styres                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
2402 Lake Terrace Road
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Sylacauga                     AL       35150                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.67                                                                                                                               Unknown
Real Trust IRA Alternatives, LLC                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
FBO Fiona Westby
Number        Street                                      As of the date you file, the claim is: Check all that apply.
650 Bellevue Way NE #3201                                     Contingent
                                                              Unliquidated
Bellevue                      WA       98004                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.68                                                                                                                               Unknown
Richard McNeese                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
2556 Mayfair Ave. N.
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Seattle                       WA       98109                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                     page 25
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Debtor 1       William                Henry
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                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

  4.69                                                                                                                               Unknown
Robert H. Jones                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
65 Hickory Drive
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
West Point                    MS       39773                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.70                                                                                                                               Unknown
Robert Rogers                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
230 Woodlands Dr.
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Bastrop                       TX       78602-3180             Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.71                                                                                                                               Unknown
Roberta G. Kopacz                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
3112 Indian Mesa Dr.
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Thousand Oaks                 CA       91360                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




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Debtor 1       William                Henry
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                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

  4.72                                                                                                                               Unknown
Ruby Loretta Mohamed                                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
880 N. Maplewood St.
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Orange                        CA       92867                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.73                                                                                                                               Unknown
Samuel Adam McKinnon                                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
1020 N. Highland St., Unit 422
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Arlington                     VA       22201                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.74                                                                                                                               Unknown
Steve Cochennet                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
4500 Greenwich Place
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Amarillo                      TX       79119                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                     page 27
          Case 8:15-bk-16028-CB                     Doc 1 Filed 12/23/15 Entered 12/23/15 15:28:04                               Desc
Debtor 1       William                Henry
                                                    Main Document
                                                         Watson, III
                                                                     Page 48Case
                                                                             of 97
                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

  4.75                                                                                                                               Unknown
Steve Ossello                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
1601 Arapahoe St. 4th Floor
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Denver                        CO       80202                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.76                                                                                                                               Unknown
Steve W. Schechter                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
113 W G Street, Suite 310
Number        Street                                      As of the date you file, the claim is: Check all that apply.
San Diego, CA                                                 Contingent
                                                              Unliquidated
                                                              Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.77                                                                                                                               Unknown
Szuchan Family LLC                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
John Szuchan, Manager
Number        Street                                      As of the date you file, the claim is: Check all that apply.
P.O. Box 14473                                                Contingent
                                                              Unliquidated
Durham                        NC       27709-4473             Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                     page 28
          Case 8:15-bk-16028-CB                     Doc 1 Filed 12/23/15 Entered 12/23/15 15:28:04                               Desc
Debtor 1       William                Henry
                                                    Main Document
                                                         Watson, III
                                                                     Page 49Case
                                                                             of 97
                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

  4.78                                                                                                                               Unknown
Team Holdings 2000, L.P.                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
Uzi Halevy, Manager
Number        Street                                      As of the date you file, the claim is: Check all that apply.
5555 Del Monte Drive Apt. 1906                                Contingent
                                                              Unliquidated
Houston                       TX       77056                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.79                                                                                                                                  $500.00
Tennessee Dept of Comm, Ins., and Securi                  Last 4 digits of account number     m e n             t
Nonpriority Creditor's Name
                                                          When was the debt incurred?        dont know
500 James Robertson Parkway, 8th Floor
Number        Street                                      As of the date you file, the claim is: Check all that apply.
Nashville, TN 37243, TN 37243                                 Contingent
                                                              Unliquidated
                                                              Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Other
Is the claim subject to offset?
     No
     Yes

  4.80                                                                                                                               Unknown
The Griggs Family Foundation, Inc.                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
Roger Griggs, President
Number        Street                                      As of the date you file, the claim is: Check all that apply.
10650 Big Bone Church Road                                    Contingent
                                                              Unliquidated
Union                         KY       41091                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                     page 29
          Case 8:15-bk-16028-CB                     Doc 1 Filed 12/23/15 Entered 12/23/15 15:28:04                               Desc
Debtor 1       William                Henry
                                                    Main Document
                                                         Watson, III
                                                                     Page 50Case
                                                                             of 97
                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

  4.81                                                                                                                               Unknown
Thomas Matthieu Haley                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
1695 East University Drive
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Auburn                        AL       36830                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.82                                                                                                                               Unknown
Thomas R. Serrato                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
24217 Peak Court
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Diamond Bar                   CA       91765                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.83                                                                                                                               Unknown
Tim and Charlotte Malarchick                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
2611 52nd Ave NW
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Gig Harbor                    WA       98335                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                     page 30
          Case 8:15-bk-16028-CB                     Doc 1 Filed 12/23/15 Entered 12/23/15 15:28:04                               Desc
Debtor 1       William                Henry
                                                    Main Document
                                                         Watson, III
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                                                                             of 97
                                                                                 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

  4.84                                                                                                                               Unknown
Tim Devine                                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
1400 Devlin Dr.
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Los Angeles                   CA       90069                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.85                                                                                                                               Unknown
Tommy and Laura Measeles                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
10611 Merrywing Cove
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Austin                        TX       78730                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes

  4.86                                                                                                                               Unknown
Wayne B. Nelson                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
2024 Trammel Chase Drive
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Birmingham                    AL       35244                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Non-Purchase Money
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                     page 31
         Case 8:15-bk-16028-CB                        Doc 1 Filed 12/23/15 Entered 12/23/15 15:28:04                               Desc
Debtor 1       William                  Henry
                                                      Main Document
                                                           Watson, III
                                                                       Page 52Case
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                                                                                   number (if known)
               First Name               Middle Name        Last Name


  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


Awa Collections                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Po Box 6605                                                 Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Collection Attorney                 Part 2: Creditors with Nonpriority Unsecured Claims

Orange                          CA         92863            Last 4 digits of account number       1    5    7    8
City                            State      ZIP Code


Capital One Bank Usa N                                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
15000 Capital One Dr                                        Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Business Credit Card                Part 2: Creditors with Nonpriority Unsecured Claims

Richmond                        VA         23238            Last 4 digits of account number       4    6    6    4
City                            State      ZIP Code


Credit One Bank Na                                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Po Box 98875                                                Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Credit Card                         Part 2: Creditors with Nonpriority Unsecured Claims

Las Vegas                       NV         89193            Last 4 digits of account number       9    4    4    8
City                            State      ZIP Code




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                           page 32
       Case 8:15-bk-16028-CB                          Doc 1 Filed 12/23/15 Entered 12/23/15 15:28:04                                     Desc
Debtor 1       William                  Henry
                                                      Main Document
                                                           Watson, III
                                                                       Page 53Case
                                                                               of 97
                                                                                   number (if known)
               First Name               Middle Name             Last Name


 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                   Total claim

Total claims        6a. Domestic support obligations                                                     6a.                     $0.00
from Part 1
                    6b. Taxes and certain other debts you owe the government                             6b.            $155,410.00

                    6c. Claims for death or personal injury while you were intoxicated                   6c.                     $0.00

                    6d. Other. Add all other priority unsecured claims. Write that amount here.          6d.   +                 $0.00


                    6e. Total.       Add lines 6a through 6d.                                            6d.            $155,410.00




                                                                                                                   Total claim

Total claims        6f.     Student loans                                                                6f.                     $0.00
from Part 2
                    6g. Obligations arising out of a separation agreement or divorce                     6g.                     $0.00
                        that you did not report as priority claims

                    6h. Debts to pension or profit-sharing plans, and other similar                      6h.                     $0.00
                        debts

                    6i.     Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +        $657,252.26


                    6j.     Total.   Add lines 6f through 6i.                                            6j.            $657,252.26




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                             page 33
        Case 8:15-bk-16028-CB                   Doc 1 Filed 12/23/15 Entered 12/23/15 15:28:04                                      Desc
                                                Main Document    Page 54 of 97
 Fill in this information to identify your case:
 Debtor 1            William              Henry                  Watson, III
                     First Name           Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
       Case 8:15-bk-16028-CB                    Doc 1 Filed 12/23/15 Entered 12/23/15 15:28:04                                      Desc
                                                Main Document    Page 55 of 97
 Fill in this information to identify your case:
 Debtor 1            William             Henry                   Watson, III
                     First Name          Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name          Middle Name             Last Name


 United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?       (If you are filing a joint case, do not list either spouse as a codebtor.)
         No
         Yes

2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
              No
              Yes
3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt

                                                                                             Check all schedules that apply:




Official Form 106H                                         Schedule H: Your Codebtors                                                      page 1
          Case 8:15-bk-16028-CB                  Doc 1 Filed 12/23/15 Entered 12/23/15 15:28:04                                          Desc
                                                 Main Document    Page 56 of 97
 Fill in this information to identify your case:
     Debtor 1              William              Henry                  Watson, III
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2                                                                                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Investment Broker
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Self

      Occupation may include            Employer's address     3010 W Oceanfront
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Newport Beach                CA      92663
                                                               City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?        39 years


 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                     $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.

3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.                  $0.00




Official Form 106I                                            Schedule I: Your Income                                                                page 1
         Case 8:15-bk-16028-CB                                    Doc 1 Filed 12/23/15 Entered 12/23/15 15:28:04                                                              Desc
Debtor 1 William                                Henry
                                                                  Main Document
                                                                         Watson, III
                                                                                     Page 57 of 97
                                                                                                 Case number (if known)
            First Name                          Middle Name                        Last Name


                                                                                                                        For Debtor 1                  For Debtor 2 or
                                                                                                                                                      non-filing spouse

     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                       $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                          5a.                  $0.00
     5b. Mandatory contributions for retirement plans                                                           5b.                  $0.00
     5c. Voluntary contributions for retirement plans                                                           5c.                  $0.00
     5d. Required repayments of retirement fund loans                                                           5d.                  $0.00
     5e. Insurance                                                                                              5e.                  $0.00
     5f. Domestic support obligations                                                                           5f.                  $0.00
     5g. Union dues                                                                                             5g.                  $0.00
     5h. Other deductions.
          Specify: 0                                                                                            5h. +                $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                      6.                   $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.              7.                   $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                   8a.           $4,890.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.

     8b. Interest and dividends                                                                                 8b.                  $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                            8c.                  $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.

     8d. Unemployment compensation                                                                              8d.                  $0.00
     8e. Social Security                                                                                        8e.                  $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                               8f.                  $0.00
     8g. Pension or retirement income                                                                           8g.                  $0.00
     8h. Other monthly income.
         Specify: See continuation sheet                                                                        8h. +                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                     9.            $4,890.00

10. Calculate monthly income. Add line 7 + line 9.                                                              10.           $4,890.00           +                       =       $4,890.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify: Contributions from friends                                                                                                                          11.     +       $1,000.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                     12.             $5,890.00
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                            Combined
                                                                                                                                                                              monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           Employment obtained that begins mid-December.
            Yes. Explain:




Official Form 106I                                                                  Schedule I: Your Income                                                                            page 2
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Debtor 1 William               Henry
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                                                                            Case number (if known)
          First Name           Middle Name           Last Name




                                                                             For Debtor 1    For Debtor 2 or
                                                                                             non-filing spouse
8h. Other Monthly Income (details)
     0                                                                               $0.00
     0                                                                               $0.00

                                                                   Totals:           $0.00




Official Form 106I                                   Schedule I: Your Income                                            page 3
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Debtor 1 William                    Henry
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                                                                                 Case number (if known)
          First Name                Middle Name           Last Name


8a. Attached Statement (Debtor 1)

                                                        Self-employment Income

Gross Monthly Income:                                                                                        $4,890.00

Expense                                                      Category                         Amount

Total Monthly Expenses                                                                                           $0.00
Net Monthly Income:                                                                                          $4,890.00




Official Form 106I                                        Schedule I: Your Income                                page 4
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                                                   Main Document    Page 60 of 97
 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              William                Henry                  Watson, III                         An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    CENTRAL DISTRICT OF CALIFORNIA                                 MM / DD / YYYY
     Case number
     (if known)


Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?



 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $3,600.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.                      $40.00

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                    $100.00

      4d. Homeowner's association or condominium dues                                                                4d.



 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
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                                                                                 Case number (if known)
            First Name              Middle Name             Last Name


                                                                                                  Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans             5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                     6a.                      $40.00
     6b. Water, sewer, garbage collection                                                   6b.                       $0.00
     6c. Telephone, cell phone, Internet, satellite, and                                    6c.                    $100.00
         cable services
     6d. Other. Specify:       Cable, gas, Misc                                             6d.                    $125.00
7.   Food and housekeeping supplies                                                         7.                     $450.00
8.   Childcare and children's education costs                                               8.

9.   Clothing, laundry, and dry cleaning                                                    9.

10. Personal care products and services                                                     10.

11. Medical and dental expenses                                                             11.                    $100.00
12. Transportation. Include gas, maintenance, bus or train                                  12.                    $300.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                           13.
    magazines, and books
14. Charitable contributions and religious donations                                        14.                       $0.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                                 15a.                      $0.00
     15b.    Health insurance                                                               15b.                      $0.00
     15c.    Vehicle insurance                                                              15c.                      $0.00
     15d.    Other insurance. Specify:                                                      15d.                      $0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                16.

17. Installment or lease payments:

     17a.    Car payments for Vehicle 1                                                     17a.                      $0.00
     17b.    Car payments for Vehicle 2                                                     17b.

     17c.    Other. Specify:                                                                17c.                      $0.00
     17d.    Other. Specify:                                                                17d.                      $0.00
18. Your payments of alimony, maintenance, and support that you did not report as           18.                   $1,000.00
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).
     Spousal support
19. Other payments you make to support others who do not live with you.
    Specify:                                                                                19.                       $0.00
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.    Mortgages on other property                                                    20a.

     20b.    Real estate taxes                                                              20b.

     20c.    Property, homeowner's, or renter's insurance                                   20c.

     20d.    Maintenance, repair, and upkeep expenses                                       20d.

     20e.    Homeowner's association or condominium dues                                    20e.


 Official Form 106J                                         Schedule J: Your Expenses                                 page 2
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           First Name                 Middle Name           Last Name


21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.         $5,855.00
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.         $5,855.00

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.         $5,890.00
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –     $5,855.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.              $35.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                 None.




 Official Form 106J                                         Schedule J: Your Expenses                                           page 3
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 Fill in this information to identify your case:
 Debtor 1           William             Henry                Watson, III
                    First Name          Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

 Case number
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ William Henry Watson, III                        X
        Signature of Debtor 1                                  Signature of Debtor 2

        Date 12/23/2015                                        Date
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
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 Fill in this information to identify your case:
 Debtor 1           William               Henry                  Watson, III
                    First Name            Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

 Case number
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                       Dates Debtor 1            Debtor 2:                                 Dates Debtor 2
                                                        lived there                                                         lived there

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 1
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                                                                                    number (if known)
               First Name                Middle Name           Last Name


 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                        Debtor 1                                        Debtor 2

                                                       Sources of income          Gross income         Sources of income          Gross income
                                                       Check all that apply.      (before deductions   Check all that apply.      (before deductions
                                                                                  and exclusions                                  and exclusions

From January 1 of the current year until                   Wages, commissions,          $85,416.00         Wages, commissions,
the date you filed for bankruptcy:                         bonuses, tips                                   bonuses, tips
                                                           Operating a business                            Operating a business


For the last calendar year:                                Wages, commissions,       ($232,743.00)         Wages, commissions,
                                                           bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2014 )
                                  YYYY                     Operating a business                            Operating a business


For the calendar year before that:                         Wages, commissions,                             Wages, commissions,
                                                           bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2013 )
                                  YYYY                     Operating a business                            Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 2
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                                                                                 number (if known)
                 First Name           Middle Name            Last Name


 Part 3:          List Certain Payments You Made Before You Filed for Bankruptcy
6.   Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                   "incurred by an individual primarily for a personal, family, or household purpose."

                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $6,225* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                   * Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                            Also, do not include payments to an attorney for this bankruptcy case.


                                                             Dates of       Total amount         Amount you          Was this payment for...
                                                             payment        paid                 stil owe
7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
     such as child support and alimony.

           No
           Yes. List all payments to an insider.

                                                             Dates of       Total amount         Amount you          Reason for this payment
                                                             payment        paid                 still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.

                                                             Dates of       Total amount         Amount you          Reason for this payment
                                                             payment        paid                 still owe           Include creditor's name




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 3
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                                                                                  number (if known)
                 First Name            Middle Name             Last Name


 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

                                             Nature of the case                       Court or agency                               Status of the case

Case title                                   Claim for Damages                        FINRA Dispute Resolution
                                                                                                                                              Pending
Finkelstein vs Finance 500, Inc.                                                      Court Name
& William H. Watson                                                                   300 S. Grand Ave., Suite 900                            On appeal
                                                                                      Number     Street
                                                                                                                                              Concluded
Case number FINRA No. 15-01038
                                                                                      Los Angeles                CA      90071
                                                                                      City                       State   ZIP Code


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:          List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 4
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                                                                                   number (if known)
               First Name               Middle Name          Last Name


  Part 6:        List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                       Description and value of any property transferred        Date payment         Amount of
Carswell Law, Inc.                                     $2500                                                    or transfer was      payment
Person Who Was Paid                                                                                             made

4695 MacArthur Court                                                                                               12/01/2015           $2,500.00
Number      Street

Suite 1430

Newport Beach                   Ca        92660
City                            State     ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 5
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                                                                                  number (if known)
               First Name              Middle Name         Last Name


 Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.


 Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
   hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
   including statutes or regulations controlling the cleanup of these substances, wastes, or material.
   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
   utilize it or used to own, operate, or utilize it, including disposal sites.

   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
   substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


           No
           Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 6
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                                                                                     number (if known)
                  First Name              Middle Name           Last Name

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

              No
              Yes. Fill in the details.

  Part 11:          Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                   A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                   A member of a limited liability company (LLC) or limited liability partnership (LLP)
                   A partner in a partnership
                   An officer, director, or managing executive of a corporation
                   An owner of at least 5% of the voting or equity securities of a corporation

              No. None of the above applies. Go to Part 12.
              Yes. Check all that apply above and fill in the details below for each business.

                                                    Describe the nature of the business                 Employer Identification number
William H. Watson, III                              Investment banker                                   Do not include Social Security number or ITIN.
Business Name                                       Self-employed or employed as an
                                                                                                        EIN:           –
3010 W Oceanfront                                   independent contractor for various
Number        Street
                                                    Name of accountant or bookkeeper                    Dates business existed

                                                                                                        From    05/29/1905       To
Newport Beach                  CA      92663
City                           State   ZIP Code


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

              No
              Yes. Fill in the details below.

  Part 12:          Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ William Henry Watson, III                                 X
       Signature of Debtor 1                                        Signature of Debtor 2

       Date       12/23/2015                                        Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

       No
       Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

       No
       Yes. Name of person                                                                              Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                        Declaration, and Signature (Official Form 119).




Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)



  This notice is for you if:
                                                                Chapter 7: Liquidation

     You are an individual filing for bankruptcy,
     and                                                               $245    filing fee
                                                                        $75    administrative fee
     Your debts are primarily consumer debts.                   +       $15    trustee surcharge
     Consumer debts are defined in 11 U.S.C. § 101(8)
                                                                       $335    total fee
     as "incurred by an individual primarily for a
     personal, family, or household purpose."
                                                                Chapter 7 is for individuals who have financial difficulty
                                                                preventing them from paying their debts and who are
                                                                willing to allow their non-exempt property to be used to
The types of bankruptcy that are available                      pay their creditors. The primary purpose of filing under
to individuals                                                  chapter 7 is to have your debts discharged. The
                                                                bankruptcy discharge relieves you after bankruptcy from
                                                                having to pay many of your pre-bankruptcy debts.
                                                                Exceptions exist for particular debts, and liens on
Individuals who meet the qualifications may file under one
                                                                property may still be enforced after discharge. For
of four different chapters of the Bankruptcy Code:
                                                                example, a creditor may have the right to foreclose a
                                                                home mortgage or repossess an automobile.
    Chapter 7 -- Liqudation
                                                                However, if the court finds that you have committed
    Chapter 11 -- Reorganization                                certain kinds of improper conduct described in the
                                                                Bankruptcy Code, the court may deny your discharge.
    Chapter 12 -- Voluntary repayment plan for family
                  farmers or fishermen                          You should know that the even if you file chapter 7 and
                                                                you receive a discharge, some debts are not discharged
                                                                under the law. Therefore, you may still be responsible to
    Chapter 13 -- Voluntary repayment plan for
                                                                pay:
                  individuals with regular income
                                                                     most taxes;
You should have an attorney review your                              most student loans;
decision to file for bankruptcy and the choice
of chapter.                                                          domestic support and property settlement obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                             page 1
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    most fines, penalties, forfeitures, and criminal            for your state of residence and family size, depending
    restitution obligations; and                                on the results of the Means Test, the U.S. trustee,
                                                                bankruptcy administrator, or creditors can file a motion to
    certain debts that are not listed in your bankruptcy        dismiss your case under § 707(b) of the Bankruptcy
    papers.                                                     Code. If a motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal, you may
You may also be required to pay debts arising from:             choose to proceed under another chapter of the
                                                                Bankruptcy Code.
    fraud or theft;
                                                                If you are an individual filing for chapter 7 bankruptcy, the
    fraud or defalcation while acting in breach of fiduciary
                                                                trustee may sell your property to pay your debts, subject
    capacity;
                                                                to your right to exempt the property or a portion of the
                                                                proceeds from the sale of the property. The property,
    intentional injuries that you inflicted; and
                                                                and the proceeds from property that your bankruptcy
    death or personal injury caused by operating a motor        trustee sells or liquidates that you are entitled to, is
    vehicle, vessel, or aircraft while intoxicated from         called exempt property. Exemptions may enable you to
    alcohol or drugs.                                           keep your home, a car, clothing, and household items or
                                                                to receive some of the proceeds if the property is sold.
If your debts are primarily consumer debts, the court can
dismiss your chapter 7 case if it finds that you have           Exemptions are not automatic. To exempt property, you
enough income to repay creditors a certain amount. You          must list it on Schedule C: The Property You Claim as
must file Chapter 7 Statement of Your Current Monthly           Exempt (Official Form 106C). If you do not list the
Income (Official Form 122A-1) if you are an individual filing   property, the trustee may sell it and pay all of the
for bankruptcy under chapter 7. This form will determine        proceeds to your creditors.
your current monthly income and compare whether your
income is more than the median income that applies in
your state.

If your income is not above the median for your state,
                                                                Chapter 11: Reorganization
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form                  $1,167    filing fee
122A-2).                                                               $550    administrative fee
                                                                +
If your income is above the median for your state, you must          $1,717    total fee
file a second form--the Chapter 7 Means Test Calculation
(Official Form 122A-2). The calculations on the form--          Chapter 11 is often used for reorganizing a business, but
sometimes called the Means Test-- deduct from your              is also available to individuals. The provisions of chapter
income living expenses and payments on certain debts to         11 are too complicated to summarize briefly.
determine any amount available to pay unsecured
creditors. If your income is more than the median income




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        Read These Important Warnings

        Because bankruptcy can have serious long-term financial and legal consequences, including loss of
        your property, you should hire an attorney and carefully consider all of your options before you file.
        Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
        and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
        properly and protect you, your family, your home, and your possessions.

        Although the law allows you to represent yourself in bankruptcy court, you should understand that
        many people find it difficult to represent themselves successfully. The rules are technical, and a
        mistake or inaction may harm you. If you file without an attorney, you are still responsible for
        knowing and following all of the legal requirements.

        You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
        necessary documents.

        Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
        bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
        fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
        to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                Under chapter 13, you must file with the court a plan to
Chapter 12: Repayment plan for family farmers                   repay your creditors all or part of the money that you owe
            or fishermen                                        them, usually using your future earnings. If the court
                                                                approves your plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or 5 years,
        $200   filing fee                                       depending on your income and other factors.
+        $75   administrative fee
                                                                After you make all the payments under your plan, many
        $275   total fee
                                                                of your debts are discharged. The debts that are not
                                                                discharged and that you may still be responsible to pay
Similar to chapter 13, chapter 12 permits family farmers
                                                                include:
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.                                                        domestic support obligations,
                                                                     most student loans,
                                                                     certain taxes,
Chapter 13: Repayment plan for individuals with
            regular income                                           debts for fraud or theft,
                                                                     debts for fraud or defalcation while acting in a
                                                                     fiduciary capacity,
          $235    filing fee
    +      $75    administrative fee
                                                                     most criminal fines and restitution obligations,
          $310    total fee
                                                                     certain debts that are not listed in your bankruptcy
                                                                     papers,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
                                                                     certain debts for acts that caused death or personal
installments over a period of time and to discharge
                                                                     injury, and
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
                                                                     certain long-term secured debts.
dollar amounts set forth in 11 U.S.C. § 109.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                 page 3
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                                                                A married couple may file a bankruptcy case together--
  Warning: File Your Forms on Time                              called a joint case. If you file a joint case and each
                                                                spouse lists the same mailing address on the
  Section 521(a)(1) of the Bankruptcy Code requires             bankruptcy petition, the bankruptcy court generally will
  that you promptly file detailed information about             mail you and your spouse one copy of each notice,
  your creditors, assets, liabilities, income, expenses         unless you file a statement with the court asking that
  and general financial condition. The court may                each spouse receive separate copies.
  dismiss your bankruptcy case if you do not file this
  information within the deadlines set by the
  Bankruptcy Code, the Bankruptcy Rules, and local
  rules of the court.                                           Understand which services you could
                                                                receive from credit counseling agencies
  For more information about the documents and
  their deadlines, go to:
                                                                The law generally requires that you receive a credit
  http://www.uscourts.gov/bkforms/bankruptcy_forms              counseling briefing from an approved credit counseling
  .html#procedure.                                              agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                case, both spouses must receive the briefing. With
                                                                limited exceptions, you must receive it within the 180
                                                                days before you file your bankruptcy petition. This
Bankruptcy crimes have serious                                  briefing is usually conducted by telephone or on the
consequences                                                    Internet.

    If you knowingly and fraudulently conceal assets or         In addition, after filing a bankruptcy case, you generally
    make a false oath or statement under penalty of             must complete a financial management instructional
    perjury--either orally or in writing--in connection with    course before you can receive a discharge. If you are
    a bankruptcy case, you may be fined, imprisoned, or         filing a joint case, both spouses must complete the
    both.                                                       course.

                                                                You can obtain the list of agencies approved to provide
    All information you supply in connection with a             both the briefing and the instructional course from:
    bankruptcy case is subject to examination by the
    Attorney General acting through the Office of the           http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
    U.S. Trustee, the Office of the U.S. Attorney, and
    other offices and employees of the U.S. Department          In Alabama and North Carolina, go to:
    of Justice.                                                 http://www.uscourts.gov/FederalCourts/Bankruptcy/Bankru
                                                                ptcyResources/ApprovedCreditAndDebtCounselors.aspx.

Make sure the court has your mailing
address                                                         If you do not have access to a computer, the clerk of the
                                                                bankruptcy court may be able to help you obtain the list.
The bankruptcy court sends notices to the mailing address
you list on Voluntary Petition for Individuals Filing for
Bankruptcy (Official Form 101). To ensure you receive
information about your case, Bankruptcy Rule 4002
requires that you notify the court of any changes in your
address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                              page 4
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B2030 (Form 2030) (12/15)

                                                          UNITED STATES BANKRUPTCY COURT
                                                           CENTRAL DISTRICT OF CALIFORNIA
                                                                 SANTA ANA DIVISION
In re William Henry Watson, III                                                                                                     Case No.

                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                 $2,500.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $2,500.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                    12/23/2015                        /s/ William P. White
                       Date                           William P. White                           Bar No. 235606
                                                      Carswell Law
                                                      4695 MacArthur Court
                                                      Suite 1430
                                                      Newport Beach, CA 92660
                                                      Phone: (949) 863-9511 / Fax: (949) 475-9087



    /s/ William Henry Watson, III
   William Henry Watson, III
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 Fill in this information to identify your case:
 Debtor 1             William                 Henry               Watson, III
                      First Name              Middle Name         Last Name

 Debtor 2
 (Spouse, if filing) First Name               Middle Name         Last Name


 United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)
                                                                                                        Check if this is an amended filing



Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                           12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe
that you are exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are
filing together, and any of the exclusions in this statement applies to only one of you, the other person should complete a
separate Form 122A-1 if you believe that this is required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:        Identify the Kind of Debts You Have

1.   Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary
     Petition for Individuals Filing for Bankruptcy (Official Form 101).

          No.    Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                 submit this supplement with the signed Form 122A-1.

          Yes. Go to Part 2.

 Part 2:        Determine Whether Military Service Provisions Apply to You
2.   Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
          No.    Go to line 3.

          Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
               10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).

                       No.    Go to line 3.

                       Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1,There is no presumption of abuse, and sign Part 3.
                            Then submit this supplement with the signed Form 122A-1.
3.   Are you or have you been a Reservist or member of the National Guard?

          No.    Complete Form 122A-1. Do not submit this supplement.

          Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)

                No.    Complete Form 122A-1. Do not submit this supplement.

                Yes. Check any one of the following categories that applies:

                      I was called to active duty after September 11, 2001,           If you checked one of the categories to the left, go to
                      for at least 90 days and remain on active duty.                 Form 122A-1. On the top of page 1 of Form 122A-1, check
                      I was called to active duty after September 11, 2001,           box 3, The Means Test does not apply now and sign
                      for at least 90 days and was released from active duty on       Part 3. Then submit this supplement with the signed Form
                                            which is fewer than 540 days before I     122A-1. You are not required to fill out the rest of Official
                      file this bankruptcy case.                                      Form 122A-1 during the exclusion period. The exclusion
                                                                                      period means the time you are on active duty or are
                      I am performing a homeland defense activity for at              performing a homeland defense activity, and for 540 days
                      least 90 days.                                                  afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                      I performed a homeland defense activity for at
                      least 90 days, ending on                        , which is      If your exclusion period ends before your case is closed,
                      fewer than 540 days before I file this bankruptcy case.         you may have to file an amended form later.




Official Form 122A-1Supp              Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                     page 1
       Case 8:15-bk-16028-CB                   Doc 1 Filed 12/23/15 Entered 12/23/15 15:28:04                                     Desc
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 Fill in this information to identify your case:                                             Check one box only as directed in this
                                                                                             form and in Form 122A-1Supp:
 Debtor 1           William              Henry                 Watson, III
                    First Name           Middle Name           Last Name                       1. There is no presumption of abuse.

 Debtor 2                                                                                      2. The calculation to determine if a presumption
 (Spouse, if filing) First Name          Middle Name           Last Name                          of abuse applies will be made under Chapter 7
                                                                                                  Means Test Calculation (Official Form 122A-2).
 United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA
                                                                                               3. The Means Test does not apply now because
 Case number                                                                                      of qualified military service but it could apply
 (if known)                                                                                       later.

                                                                                                 Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.


 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

          Married and your spouse is NOT filing with you. You and your spouse are:

               Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
               declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
               and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions
     (before all payroll deductions).

3.   Alimony and maintenance payments. Do not include payments from a spouse
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                               page 1
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Debtor 1        William                           Henry
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                                                                          Watson, III
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                                                                                                  number (if known)
                First Name                        Middle Name                      Last Name


                                                                                                                                         Column A   Column B
                                                                                                                                         Debtor 1   Debtor 2 or
                                                                                                                                                    non-filing spouse

5.   Net income from operating a business, profession, or farm

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all
     deductions)

     Ordinary and necessary operating                     –                              –
     expenses
                                                                                                                       Copy
     Net monthly income from a business,                                                                               here
     profession, or farm

6.   Net income from rental and other real property

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all
     deductions)

     Ordinary and necessary operating                     –                              –
     expenses
                                                                                                                       Copy
     Net monthly income from rental or                                                                                 here
     other real property

7.   Interest, dividends, and royalties

8.   Unemployment compensation

     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................


         For you............................................................................................................................

         For your spouse..............................................................................................................

9.   Pension or retirement income. Do not include any amount received that
     was a benefit under the Social Security Act.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.




     Total amounts from separate pages, if any.                                                                                   +                 +
11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                                                                         +               =
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                        Total current
                                                                                                                                                                        monthly income




Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                              page 2
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Debtor 1       William                     Henry
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                                                                                         number (if known)
               First Name                  Middle Name                  Last Name


 Part 2:         Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a.    Copy your total current monthly income from line 11....................................................................................................................
                                                                                                                       Copy line 11 here                       12a.

            Multiply by 12 (the number of months in a year).                                                                                                               X          12

    12b.    The result is your annual income for this part of the form.                                                                                           12b.


13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.

    Fill in the number of people in your household.


    Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                          13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

    14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.
    14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.


 Part 3:         Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X    /s/ William Henry Watson, III                                                             X
           Signature of Debtor 1                                                                          Signature of Debtor 2

           Date 12/23/2015                                                                                Date
                MM / DD / YYYY                                                                                     MM / DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 122A-2.

      If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                     Chapter 7 Statement of Your Current Monthly Income                                                                            page 3
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B 201 - Notice of Available Chapters (Rev. 06/14)                                                             USBC, Central District of California


Name:          Carswell Law

Address:       4695 MacArthur Court
               Suite 1430
               Newport Beach, CA 92660


Telephone: (949) 863-9511                                    Fax:   (949) 475-9087

     Attorney for Debtor
     Debtor in Pro Per


                                           UNITED STATES BANKRUPTCY COURT

List all names, including trade names, used by Debtor(s)             Case No.:
within last 8 years:


William Henry Watson, III                                                             NOTICE OF AVAILABLE
                                                                                           CHAPTERS
                                                                       (Notice to Individual Consumer Debtor Under § 342(b) of the Bankruptcy Code




In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes briefly the
services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of
an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you
legal advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure
that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of
any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each
other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
statement with the court requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies

          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
          forbankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available
          opportunities for credit counseling and provides assistance in performing a budget analysis. The briefing
          must be given within 180 days before the bankruptcy filing. The briefing may be provided individually or in a group
          (including briefings conducted by telephone or on the Internet) and must be provided by a nonprofit budget and
          credit counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the
          bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each
          debtor in a joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
          management instructional course before he or she can receive a discharge. The clerk also has a list of
          approved financial management instructional courses. Each debtor in a joint case must complete the course.
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B 201 - Notice of Available Chapters (Rev. 06/14)                                                   USBC, Central District of California

2.        The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors


          Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)

          1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
             Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine
             whether the case should be permitted to proceed under chapter 7. If your income is greater than the median
             income for your state of residence and family size, in some cases, creditors have the right to file a motion
             requesting that the court dismiss
          2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have
             the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to
             pay your creditors.
          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
             found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may
             deny your discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
          4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore,
             you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes;
             domestic support and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution
             obligations; certain debts which are not properly listed in your bankruptcy papers; and debts for death or
             personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs.
             Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
             malicious injury, the bankruptcy court may determine that the debt is not discharged.

          Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
          $75 administrative fee: Total fee $310)

          1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts
             ininstallments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain
             dollaramounts set forth in the Bankruptcy Code.
          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
             owe them, using your future earnings. The period allowed by the court to repay your debts may be three years
             or five years, depending upon your income and other factors. The court must approve your plan before it can
             take effect.
          3. After completing the payments under your plan, your debts are generally discharged except for domestic
             support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain
             debts which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or
             personal injury; and certain long term secured obligations.

          Chapter 11: Reorganization ($1167 filing fee, $550 administrative fee: Total fee $1717)
          Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
          provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
          with an attorney.

          Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total fee $275)
          Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
          future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
          whose income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

       A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
       perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
       information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney
       General acting through the Office of the United States Trustee, the Office of the United States Attorney, and other
       components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court.
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                             Certificate of [Non-Attorney] Bankruptcy Petition Preparer

     I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the
debtor this notice required by § 342(b) of the Bankruptcy Code.



Printed name and title, if any, of Bankruptcy Petition Preparer             Social Security number (If the bankruptcy petition
                                                                            Address: preparer is not an individual, state the
                                                                            Social Security number of the officer, principal,
                                                                            responsible person, or partner of the bankruptcy
                                                                            petition preparer.) (Required by 11 U.S.C. § 110.)


X
Signature of Bankruptcy Petition Preparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above.


Certificate of the Debtor

       I (We), the debtor(s), affirm that I (we) have received and read this notice.


William Henry Watson, III                                                   /s/ William Henry Watson, III       12/23/2015
Printed Name(s) of Debtor(s)                                                Signature of Debtor                 Date


Case No. (if known)                                                         X                                  12/23/2015
                                                                            Signature of Joint Debtor (if any) Date
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 February 2006                                                                                  2006 USBC Central Distrcit of California




                                         United States Bankruptcy Court
                                          Central District of California
 In     Watson, III, William Henry                                                    CHAPTER: 7
 re                                                                        Debtor(s). CASE NO.:



                     DEBTOR'S CERTIFICATION OF EMPLOYMENT INCOME
                           PURSUANT TO 11 U.S.C. § 521(a)(1)(B)(iv)


 Please fill out the following blank(s) and check the box next to one of the following statements:

 I,   William Henry Watson, III                                       , the debtor in this case, declare under penalty
                  (Print Name of Debtor)

 of perjury under the laws of the United States of America that:

             I have attached to this certificate copies of my pay stubs, pay advices and/or other proof of employment
             income for the 60-day period prior to the date of the filing of my bankruptcy petition.
             (NOTE: the filer is responsible for blacking out the Social Security number on pay stubs prior to filing
             them.)

             I was self-employed for the entire 60-day period prior to the date of the filing of my bankruptcy petition,
             and received no payment from any other employer.

             I was unemployed for the enitre 60-day period prior to the date of the filing of my bankruptcy petition.


 I,                                                                   , the debtor in this case, declare under penalty
                  (Print Name of Joint Debtor)

 of perjury under the laws of the United States of America that:

             I have attached to this certificate copies of my pay stubs, pay advices and/or other proof of employment
             income for the 60-day period prior to the date of the filing of my bankruptcy petition.
             (NOTE: the filer is responsible for blacking out the Social Security number on pay stubs prior to filing
             them.)

             I was self-employed for the entire 60-day period prior to the date of the filing of my bankruptcy petition,
             and received no payment from any other employer.

             I was unemployed for the enitre 60-day period prior to the date of the filing of my bankruptcy petition.




 Date December 23, 2015                                        Signature /S/ William Henry Watson, III
                                                                             Debtor

 Date December 23, 2015                                        Signature /S/
                                                                               Joint Debtor (if any)
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Attorney or Party name, Address, Telephone and Fax Numbers, and California State                             FOR COURT USE ONLY
Bar Number

Carswell Law
William P. White 235606
4695 MacArthur Court
Suite 1430
Newport Beach, CA 92660

(949) 863-9511 FAX (949) 475-9087
Attorney for: William Henry Watson, III
                                                                                                   Chapter 7
                   UNITED STATES BANKRUPTCY COURT
                    CENTRAL DISTRICT OF CALIFORNIA                                                 Case Number

In Re:

William Henry Watson, III                                                                                      (No Hearing Required)

               Debtor(s)

                                          DECLARATION RE: LIMITED SCOPE OF APPEARANCE
                                           PURSUANT TO LOCAL BANKRUPTCY RULE 2090-1

TO THE COURT, THE DEBTOR, THE TRUSTEE (if any), AND THE UNITED STATES TRUSTEE:

1. I am the attorney for the Debtor in the above-captioned bankruptcy case.
2. On (specify date) 11/2/15, I agreed with the Debtor that for a fee of $385/hour, I would provide only the following
         services:
     a.    Prepare and file the Petition and Schedules.
     b.    Represent the Debtor at the 341(a) Hearing.
     c.    Represent the Debtor in any relief from stay actions.
     d.        Represent the Debtor in any proceeding involving an objection to Debtor's discharge pursuant to
            11 U.S.C. § 727.
     e.        Represent the Debtor in any proceeding to determine whether a specific debt is nondischargeable under
            11 U.S.C. § 523.
     f.             Other (specify): None
3. I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct
   and that this declaration was executed on the following date at the city set forth in the upper left hand corner of this
   page.

Dated: December 23, 2015                                                           _/S/ William P. White____________
                                                                                   Carswell Law
I HEREBY APPROVE THE ABOVE
                                                                                   By:_William P. White_


/S/ William Henry Watson, III                                                 Name: William P. White
Signature of Debtor                                                                      Attorney for Debtor


/S/
Signature of Joint Debtor




Rev. 1/01 This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
January 2009                                                                                                                                  F 2090-1.1
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                                 STATEMENT OF RELATED CASES
                              INFORMATION REQUIRED BY LBR 1015-2
               UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA

 1.   A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or against the
      debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any copartnership or joint
      venture of which debtor is or formerly was a general or limited partner, or member, or any corporation of which the debtor is a
      director, officer, or person in control, as follows: (Set forth the complete number and title of such prior proceeding, date filed,
      nature thereof, the Bankruptcy Judge and court to whom assigned, whether still pending and, if not, the disposition thereof. If
      none, so indicate. Also, list any real property included in Schedule A that was filed with any such prior proceedings(s).)

      None

 2.   (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of
      1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the debtor, a relative
      of the general partner, general partner of, or person in control of the debtor as follows: (Set forth the complete number and title
      of such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge and court to whom assigned, whether still
      pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A that was
      filed with any such prior proceeding(s).)

      None

 3.   (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
      previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer of the
      debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner of the debtor, a
      relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms or corporations owning
      20% or more of its voting stock as follows. (Set forth the complete number and title of such prior proceeding, date filed, nature
      of proceeding, the Bankruptcy Judge and court to whom assigned, whether still pending, and if not, the disposition thereof. If
      none, so indicate. Also, list any real property included in Schedule A that was filed with any such prior proceeding(s).)

      None

 4.   (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has been
      filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior proceeding,
      date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still pending, and if not, the
      disposition thereof. If none, so indicate. Also, list any real property included in Schedule A that was filed with any such prior
      proceedings(s).)

      None

 I declare, under penalty of perjury, that the foregoing is true and correct.

 Executed at Newport Beach                           , California               /S/ William Henry Watson, III
                                                                                Debtor

 Dated           December 23, 2015                                              /S/
                                                                                Joint Debtor




                  This form is mandatory by Order of the United States Bankruptcy Court for the Central District of California.

 December 2012                                                                         F1015-2.1.STMT.RELATED.CASES
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 Fill in this information to identify your case:
 Debtor 1            William              Henry                   Watson, III
                     First Name           Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

 Case number
                                                                                                                             Check if this is an
 (if known)
                                                                                                                             amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                             12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:        List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the      Did you claim the property
                                                                        property that secures a debt?          as exempt on Schedule C?

      None.


 Part 2:        List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

      Describe your unexpired personal property leases                                                        Will this lease be assumed?

      None.


 Part 3:        Sign Below

     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
     personal property that is subject to an unexpired lease.

X /s/ William Henry Watson, III                          X
     Signature of Debtor 1                                   Signature of Debtor 2

     Date 12/23/2015                                         Date
          MM / DD / YYYY                                             MM / DD / YYYY




Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                   page 1
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                        Andrea Downs
                        495 Legion St.
                        Laguna Beach, CA 92651



                        Andrew C. Hossman
                        3755 WS Grayson St.
                        Seattle, WA 98126



                        Awa Collections
                        Po Box 6605
                        Orange, CA 92863



                        Bank of America
                        Irvine, CA




                        Barbara A. & Mark Lyster
                        37 Ocean Heights Drive
                        Newport Coast, CA 92657



                        Blake T. Headley
                        4636 Northampton Drive
                        Jackson, MS 39211



                        Brenda M. Hackney
                        40 Country Club Road
                        Mountain Brook, AL 35213



                        Campus Partners, LLC. C/O Colton Compani
                        2361 Campus Drive, Suite 203
                        Irvine, CA 92612



                        Capital One Bank Usa N
                        15000 Capital One Dr
                        Richmond, VA 23238
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                        Capital One Mastercard
                        PO Box 60599
                        City of Industry, CA 91716



                        Capital One Visa
                        PO Box 60599
                        City of Industry, CA 91716-0599



                        Capital One Visa
                        PO BOX 70886
                        Charlotte, NC 28272



                        Carl L. Hossman Jr. and Virginia K. Hoss
                        196 Boundary Ln. NW
                        Shoreline, WA 98177



                        Castleberry Properties, LLC
                        2206 Rosewood
                        Westport, MS 39773



                        Charles Finkelstein
                        C/O David Newman, Esq.
                        10900 NE 8th St., Suite 1000
                        Bellevue, WA 98004


                        Chris Wrolstad
                        1935 Alkire St.
                        Golden, CO 80404



                        Christopher King
                        2922 Rosemary Park
                        Houston, TX 77082



                        Cliff Coffman and Dianne Andrews Coffman
                        565 Oneonta St.
                        Shreveport, LA 71106-1619
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                        Credit One Bank
                        PO Box 60500
                        City of Industry, CA 91716-0500



                        Credit One Bank Na
                        Po Box 98875
                        Las Vegas, NV 89193



                        Darlene K. Hall
                        3121 Fren Ave. #117
                        Shreveport, LA 71105



                        Darryl Kopacz
                        3112 Indian Mesa Dr.
                        Thousand Oaks, CA 91360



                        Daryl P. Guest Roth IRA
                        c/o Starkville Surgical Associates
                        105 Doctors Park
                        Starkville, MS 39759


                        David Dausman
                        100 Woodmont Hill
                        Ridgeland, MS 39157



                        David L. Bole
                        1265 Ridgewood Lane
                        Houston, TX 77055
                        Phone: (713) 898-0559


                        David Stehlik
                        3918 171st Pl. NE
                        Bellevue, WA 98008



                        David Stephens
                        6512 Old Gate Road
                        Plano, TX 75093
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                        Diana Johnson
                        3115 Ski Shores Terrace
                        Austin, TX 78730



                        Donald E. Betz
                        12 Glen Cove
                        Laguna Niguel, CA   92677



                        Finance 500, Inc.
                        19762 MacArthur Blvd., Suite 200
                        Irvine, CA 92612



                        FINN Partners, Inc.
                        Juhani Taskinen
                        36 Lindhurst
                        Newport Beach, CA 92660


                        Focus Receivables Mana
                        1130 Northchase Pkwy Se
                        Marietta, GA 30067



                        Franchise Tax Board
                        PO Box 942867
                        Sacramento, CA 94267-0011



                        Francis S Hackney and Lucy D Hackney
                        4200 Pine Street, Unit #105
                        Philadelphia, PA 19104



                        Freedom Investors Corp.
                        333 Bishops Way, #122
                        Brookfield, WI 53005



                        Gail E. Levine
                        12790 SW Rembrandt Lane
                        Tigard, OR 97224
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                        George Octavio Flint
                        140 Encinitas Blvd. Ste. 319
                        Encinitas, CA 92024



                        Gregory J. Erigero
                        29 Nunes Drive
                        Novato, CA 94945



                        Guy J. Ossello IRA
                        75 Burning Tree Lane
                        Butte, MT 59701



                        H. Leigh Severance
                        14282 E. Caley Ave.
                        Aurora, CO 80016



                        Hackney One Investments, LLC
                        40 Country Club Road
                        Mountain Brook, AL



                        Henry Maurice Johnson, Jr.
                        3115 Ski Shores Terrace
                        Austin, TX 78730



                        IRS
                        24000 Avila Road
                        Laguna Nigel, CA 92677-3405



                        IRS
                        Centalized Insolvency Operation
                        PO Box 7346
                        Philadelphia, PA 19101-7346


                        James W. Morris
                        5912 Fairlane Drive
                        Austin, TX 78757
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                        Jerold Riegler
                        15801 W. Riviera
                        New Berlin, WI



                        John P. Forney, III & Sally A. Forney,
                        Trustees
                        13 Hill Haven
                        New Braunfels, TX 78132


                        Jon C Nelson, Jr. & Teresa L Nelson
                        16029 Snowdonia Cove
                        Austin, TX 78738



                        Jonathan A. Bower and Susan Kano
                        18 Holiday Road
                        Wayland, MA 01778



                        Joshua Klakring
                        196 Boundary Ln NW
                        Shoreline, WA 98177



                        Jumpsport, Inc. Defined Benefit Plan
                        18505 Marshall Lane
                        Saratoga, CA 95070



                        Jym Travis Daniel
                        9413 Altona Way
                        Austin, TX 78717



                        Kevin S. Mellor Apex C/F Rollover IRA
                        4102 Bellefontaine St.
                        Houston, TX 77025



                        Landon Miller
                        273 Beverly St.
                        Laguna Beach, CA 92651
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                        Lucien J. Tujague, Jr.
                        4824 Crooked Ln.
                        Dallas, TX 75229



                        Mark and Valerie Publicover
                        18505 Marshall Lane
                        Saratoga, CA



                        Mark Massad
                        5538 Preston Haven Dr.
                        Dallas, TX 75230



                        Mark Publicover
                        18505 Marshall Lane
                        Saratoga, CA 95070



                        Marlene Marcus
                        1453 Allenford Ave.
                        Los Angeles, CA 90049



                        Maroof Haque
                        4226 Interlake Ave. N
                        Seatlle, WA 98103



                        Massad & Massad Investments, LTD.,
                        Gene Massad, GP
                        5330 Lobello Drive
                        Dallas, TX 75229


                        Merchants Ad
                        P O Box 7511
                        Mobile, AL 36670



                        Midland Credit Management
                        2365 Northside Drive, Suite 300
                        San Diego, CA 92108
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                        Millenium Trust Company, LLC
                        Custodian FBO: Sanjiv Rawat IRA
                        13057 Greg Roy Lane
                        Hernadon, VA 20171


                        Monica A. Brill
                        3833 E. 38th Street
                        Des Moines, IA 50317



                        Nicholas Shubin, DDS
                        27184 Ortega Hwy., suite 208
                        San Juan Capistrano, CA 92675-5700



                        Patrick E. Molony
                        1104 Lakeridge Drive
                        Birmingham, AL 35244



                        Paul and Betty Jacobs
                        4601 Merion Cricket
                        Austin, TX 78747



                        PFSI IRA Rollover FBO Donald E. Betz
                        12 Glen Cove
                        Laguna Niguel, CA 92677



                        Raymond C. and Glenda P. Styres
                        2402 Lake Terrace Road
                        Sylacauga, AL 35150



                        Real Trust IRA Alternatives, LLC
                        FBO Fiona Westby
                        650 Bellevue Way NE #3201
                        Bellevue, WA 98004


                        Richard McNeese
                        2556 Mayfair Ave. N.
                        Seattle, WA 98109
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                        Robert H. Jones
                        65 Hickory Drive
                        West Point, MS 39773



                        Robert Rogers
                        230 Woodlands Dr.
                        Bastrop, TX 78602-3180



                        Roberta G. Kopacz
                        3112 Indian Mesa Dr.
                        Thousand Oaks, CA 91360



                        Ruby Loretta Mohamed
                        880 N. Maplewood St.
                        Orange, CA 92867



                        Samuel Adam McKinnon
                        1020 N. Highland St., Unit 422
                        Arlington, VA 22201



                        Steve Cochennet
                        4500 Greenwich Place
                        Amarillo, TX 79119



                        Steve Ossello
                        1601 Arapahoe St. 4th Floor
                        Denver, CO 80202



                        Steve W. Schechter
                        113 W G Street, Suite 310
                        San Diego, CA



                        Szuchan Family LLC
                        John Szuchan, Manager
                        P.O. Box 14473
                        Durham, NC 27709-4473
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                        Team Holdings 2000, L.P.
                        Uzi Halevy, Manager
                        5555 Del Monte Drive Apt. 1906
                        Houston, TX 77056


                        Tennessee Dept of Comm, Ins., and Securi
                        500 James Robertson Parkway, 8th Floor
                        Nashville, TN 37243, TN 37243



                        The Griggs Family Foundation, Inc.
                        Roger Griggs, President
                        10650 Big Bone Church Road
                        Union, KY 41091


                        Thomas Matthieu Haley
                        1695 East University Drive
                        Auburn, AL 36830



                        Thomas R. Serrato
                        24217 Peak Court
                        Diamond Bar, CA 91765



                        Tim and Charlotte Malarchick
                        2611 52nd Ave NW
                        Gig Harbor, WA 98335



                        Tim Devine
                        1400 Devlin Dr.
                        Los Angeles, CA 90069



                        Tommy and Laura Measeles
                        10611 Merrywing Cove
                        Austin, TX 78730



                        Wayne B. Nelson
                        2024 Trammel Chase Drive
                        Birmingham, AL 35244
